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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                                                                2U2UJAN-9     MtO:3O
                                  AUSTIN DIVISION

MAX ENGERT, JACK PURCHASE,                      §                           \   E

AND RONALD ATKINSON, ON                         §
BEHALF OF THEMSELVES AND ALL                    §
OTHERS SIMILARLY SITUATED,                      §
               PLAINTIFFS,                      §
                                                §
V.                                              §     CAUSE NO. 1 :19-CV-183-LY
                                                §
QU1NCY BIOSCIENCE, LLC,                         §
                       DEFENDANT.               §


                     ORDER ON REPORT AND RECOMMENDATION

       Before the court are Defendant Quincy Bioscience, LLC' s Motion to Dismiss Plaintiffs' First

Amended Class Action Complaint filed June 21, 2019 (Doc. #22); Plaintiffs' Response to

Defendant's Motion to Dismiss Plaintiffs' First Amended Complaint filed July 12, 2019 (Doc. #24);

and Defendant Quincy Bioscience, LLC's Reply filed July 26, 2019 (Doe. #27). The motion,

response, and reply were referred to the United States Magistrate Judge for Report and

Recommendation.     See   28 U.S.C. § 636(b); Fed. R. Civ. P. 72; Loc. R. W. D. Tex. Appx. C, 1(d).

       The magistrate judge filed a Report and Recommendation on October 8, 2019 (Doe. #30),

recommending that this court deny the motion to dismiss. Defendant Quincy Bioscience, LLC's

Objections to the Report and Recommendation of the United States Magistrate Judge on its Motion

to Dismiss Plaintiffs' First Amended Class Action Complaint were filed October 22, 2019

(Doe. #3 1). Plaintiff's Response to Defendant's Objections to the Report and Recommendations of

the United States Magistrate Judge was filed November 5, 2019 (Doe. #32). In light of the

objections, the court has undertaken a de novo review ofthe entire case file and finds that the Report

and Recommendation should be accepted and approved for substantially the reasons stated therein.
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       In it objections, Defendant Quincy Bioscience, LLC asserts that the magistrate judge

improperly refused to consider the Madison Memory Study, which Quincy argues conclusively

demonstrates that Quincy' s marketing statements were both truthful and fully substantiated, thereby

rendering Plaintiffs' false-advertising claims wholly without merit. The court concludes, however,

that the magistratejudge properly limited her review on the motion to dismiss to Plaintiffs' amended

complaint and attachments, which did not include the Madison Memory Study. Therefore, the court

will overrule Quincy' s objections.

       IT IS THEREFORE ORDERED that Defendant Quincy Bioscience, LLC's Objections to

the Report and Recommendation of the United States Magistrate Judge on its Motion to Dismiss

Plaintiffs' First Amended Class Action Complaint was filed October 22, 2019 (Doc. #31) are

OVERRULED.

       IT IS FURTHER ORDERED that the Report and Recommendation of the United States

Magistrate Judge (Doc. #30) is APPROVED and ACCEPTED as set forth herein.

       IT IS FURTHER ORDERED that Defendant QuincyBioscience, LLC' s Motion to Dismiss

Plaintiffs' First Amended Class Action Complaint filed June 21, 2019 (Doc. #22) is DENIED.

       SIGNED this                    day of January, 2020.




                                                UN    ED STAT S DISTRICT
